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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ALABAMA
                               SOUTHERN DIVISION

 PAMELA D. VAUGHN, as                           )
 Administratrix of the Estate of                )
 JOHN H. VAUGHN, Deceased,                      )
                                                )
       Plaintiff,                               )
                                                )
v.                                              ) Case No. 1:22-cv-00204
                                                )
JOHN DEERE COMPANY, A                           )
CORPORATION; JOHN DEERE                         )
CONSTRUCTION & FORESTRY, INC.;                  )
DEERE & COMPANY, INC.; BEARD                    )
EQUIPMENT COMPANY, INC.; BEARD                  )
EQUIPMENT COMPANY; BEARD                        )
RENTAL & EQUIPMENT, INC.,                       )
                                                )
       Defendants.                              )
                                                )

                    DEFENDANTS DEERE & COMPANY AND
             JOHN DEERE CONSTRUCTION & FORESTRY COMPANY’S
                RULE 7.1 CORPORATE DISCLOSURE STATEMENT

       Pursuant to Fed. R. Civ. P. 7.1, Defendants Deere & Company, improperly identified as

Deere & Company, Inc., and John Deere Construction & Forestry Company, improperly

identified as John Deere Construction & Forestry, Inc., make the following corporate disclosure:

       1.     Defendant Deere & Company is a publicly held corporation traded on the New

York Stock Exchange under the ticker symbol “DE.”

       2.     John Deere Company is named as a defendant in this action but was merged into

Deere & Company in 1992 and ceased to separately exist.

       3.     Defendant John Deere Construction & Forestry Company is a subsidiary of

publicly-held Deere & Company and is not traded publicly.

       4.     Deere & Company has no parent corporation.
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      5.     To the best of Deere & Company’s knowledge, there are no publicly traded

companies that own 10% or more of the stock of Deere & Company. No publicly-traded

company owns 10% or more of the stock of John Deere Construction & Forestry Company



Dated: May 27, 2022                          Respectfully submitted,

                                             /s/ Reid C. Carpenter
                                                      One of the Attorneys for Defendants
                                                           Deere & Company and
                                                John Deere Construction & Forestry Company

OF COUNSEL:
Reid C. Carpenter
rcarpenter@lightfootlaw.com
Amaobi J. Enyinnia
aenyinnia@lightfootlaw.com
LIGHTFOOT, FRANKLIN & WHITE, LLC
The Clark Building
400 20th Street North
Birmingham, Alabama 35203
205-581-0700 (phone)

                                CERTIFICATE OF SERVICE

      This is to certify that on this 27th day of May, 2022, a true and correct copy of the foregoing

was served on all following counsel of record in accordance with the Federal Rules of Civil

Procedure:

             Richard H. Taylor
             Joseph S. Dennis
             TAYLOR MARTINO, PC
             455 Saint Louis Street
             Suite 2100, P.O. Box 894
             Mobile, Alabama 36601
             richardtaylor@taylormartino.com
             joseph@taylormartino.com
             Attorneys for Plaintiff
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            Mark A. Newell
            ARMBRECHT JACKSON LLP
            RSA Tower, 27th Floor
            11 North Water Street
            Mobile, AL 36602
            P.O. Box 290
            Mobile, AL 36601
            man@ajlaw.com
            Attorneys for the Beard Defendants



                                        /s/ Reid C. Carpenter
                                        Of Counsel
